         Case 1:24-cv-00306-DCN Document 21 Filed 07/03/24 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  JANE ROE, JANE POE, JANE DOE,                    Case No. 1:24-cv-00306-DCN

         Plaintiffs,                               AMENDED ORDER

  v.

  RAUL LABRADOR, in his official
  capacity as Attorney General of the State
  of Idaho, et. al.,

         Defendants.


       In its prior Memorandum Decision and Order, the Court granted a provisional

Temporary Restraining Order (a “TRO”) on enforcement of Idaho Code § 18-8901. Dkt.

13. Consistent with Labrador v. Poe, 144 S. Ct. 921 (2024), the Court stated that the TRO

applies “to only the named Plaintiffs in this case.” Dkt. 13, at 6. However, one factor the

Court failed to consider in its order is the fact that the named plaintiffs in this case are

proceeding pseudonymously, and it is impossible for Defendants to allow continued

hormonal treatment to an individual without knowing that individual’s identity.

       The day after issuance of the Court’s Memorandum Decision and Order, Defendants

raised these concerns to the Court. Dkt. 16, at 2. They stated that, while two of the named

Plaintiffs have shared their identities, the third has not. Id. Accordingly, Defendants move

the Court to either compel Plaintiffs to disclose the identity of the third named Plaintiff or

to modify the TRO to include only those Plaintiffs who have shared their identities. The

Court gave Plaintiffs a brief opportunity to raise any objections they might have with


AMENDED ORDER - 1
        Case 1:24-cv-00306-DCN Document 21 Filed 07/03/24 Page 2 of 2




Defendants Motion. Dkt. 20. They did not do so.

       Accordingly, the Court hereby GRANTS Defendants’ Motion as follows: the Court

amends its prior Memorandum Decision and Order to apply only to those named Plaintiffs

who have shared their identities with Defendants. If the third named Plaintiff discloses his

or her identity to Defendants after issuance of this Amended Order, he or she will be

covered under the TRO immediately upon such disclosure.


                                                 DATED: July 3, 2024


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




AMENDED ORDER - 2
